                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE

CHAD YOUTH ENHANCEMENT                       :
CENTER, INC.                                 :
                                             :
and                                          :      Civil Action No. 3 09 0545
                                             :      District Judge Echols
UNIVERSAL HEALTH SERVICES,                   :      Magistrate Judge Brown
INC.                                         :
                                             :
                       Plaintiffs,           :
                                             :
         v.                                  :
                                             :
COLONY NATIONAL INSURANCE                    :
COMPANY                                      :
                                             :
                       Defendant.            :
                                             :

                             NOTICE OF APPEAL
                OF COLONY NATIONAL INSURANCE COMPANY
______________________________________________________________________________

         NOTICE IS HEREBY GIVEN that Defendant Colony National Insurance Company

hereby appeals to the United States Court of Appeals for the Sixth Circuit from the following:

         (1)   the judgment entered in the above-captioned action on June 1, 2010 (Docket

Entry No. 72) from which Colony may take an appeal of an interlocutory order, leave for which

appeal was granted in the District Court’s Order entered in the above-caption action on June 1,

2010 (Docket Entry No. 71);

         (2)   the Order entered in the above-caption action on June 1, 2010 (Docket Entry No.

71), which Order denied Defendant Colony National Insurance Company’s Motion for

Reconsideration; and

         (3)   the District Court’s February 2, 2010 Order (Docket Entry No. 56), which Order

denied Defendant Colony National Insurance Co.’s Cross-Motion for Summary Judgment and


                                        1
      Case 3:09-cv-00545 Document 75 Filed 06/22/10 Page 1 of 4 PageID #: 1341
granted Plaintiffs Chad Youth Enhancement Center’s and Universal Health Services, Inc.’s

Motion for Partial Summary Judgment and declared that the Colony Policy provides coverage

for punitive damages for Plaintiffs in the case pending in the Eastern District of Pennsylvania

styled Paulette M. Dolby as the administratrix of the Estate of Omega Leach, III v. Universal

Health Services, Inc., et al.

                                                   Respectfully submitted,


                                                   S/Larry I. Gramovot
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                                     2
   Case 3:09-cv-00545 Document 75 Filed 06/22/10 Page 2 of 4 PageID #: 1342
                                 CERTIFCATE OF SERVICE

       This is to certify that a copy of the foregoing Notice of Appeal of Colony National
Insurance Company will be served by the Court’s ECF filing system on the following:

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                                              s/ Michael B. Neal

                                     3
   Case 3:09-cv-00545 Document 75 Filed 06/22/10 Page 3 of 4 PageID #: 1343
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Case 3:09-cv-00545 Document 75 Filed 06/22/10 Page 4 of 4 PageID #: 1344
